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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                 )
 COMMONWEALTH OF MASSACHUSETTS                   )
 ex rel. MYKEL POWELL and                        )
 COMMONWEALTH SECOND                             )
 AMENDMENT, INC.; and MYKEL POWELL,              ) CIVIL ACTION NO.
                                                 ) 1:18-cv-11336-FDS
                               Plaintiffs,
                                                 )
                -against-                        )
                                                 )
 SGT. BRIAN HOLMES, in his Individual and        )
 Official Capacity as Sergeant of the Stoughton  )
 Police Department; JAMES O’CONNOR, in his )
 Individual and Official Capacity as Deputy      )
 Chief of the Stoughton Police Department;       )
 DONNA M. McNAMARA, in her Individual            )
 and Official Capacity as Chief of the Stoughton )
 Police Department; VILLAGE GUN SHOP,            )
 INC. d/b/a VILLAGE VAULT; and PETER
                                                 )
 DOWD,
                                                 )
                               Defendants.       )
                                                 )


                       PLAINTIFFS’ REQUEST FOR PRODUCTION
                          TO DEFENDANT JAMES O’CONNOR

To:    Defendant James O’Connor
       c/o Thomas R. Donohue
       Brody, Hardoon, Perkins & Kesten, LLP
       699 Boylston Street, 12th Floor
       Boston, Massachusetts 02116

       Plaintiffs submit this Request for Production to Defendant James O’Connor pursuant to

Rule 34 of the Federal Rules of Civil Procedure. Plaintiffs demand that said Defendant make all

documents, electronically stored information and tangible things that are within this Request

available for Plaintiffs’ inspection and copying within thirty (30) days.
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                                         DEFINITIONS

       The following definitions supplement those set forth in Local Rule 26.5:

   1. The term you [including without limitation your] refers to Defendant James O’Connor.

   2. The term Accessories [including without limitation Accessory] refers to items related to
      Guns (defined below), such as but not limited to ammunition and ammunition
      components, magazines, other gun parts, cases, magazines and scopes.

   3. The term Entity [including without limitation Entities] refers to anything recognized as a
      person or otherwise having standing under the law other than an individual natural
      person.

   4. The term Gun [including without limitation Guns] refers to any type of rifle, shotgun,
      handgun or other projectile weapon, and also includes the frame or receiver of same.

   5. The term Individual [including without limitation Individuals] refers to an individual
      natural person.

   6. The term Interrogatories refers to both Plaintiffs’ Interrogatories to Defendant James
      O’Connor, served herewith, and Plaintiffs’ First Interrogatories to Each and Every
      Defendant, served previously.

   7. The term Relevant Period refers to the period from June 27, 2012 to the present.

   8. The term Village Vault refers to Defendant Village Gun Shop, Inc. d/b/a Village Vault.

   9. Local Rule 26.5 defines additional terms, including but not limited to Communication,
      Document and Identify.



                               ADDITIONAL INSTRUCTIONS

       Plaintiffs supplement (but do not supplant) the Rules of Civil Procedure and the Local

Rules of this Court with the following additional instructions:

   1. You must produce any information that is within the scope of this request regardless of
      whether it is in paper form or is stored electronically.

   2. You must disclose all responsive information that is within your possession, custody or
      control.

   3. You have a continuing obligation to supplement or revise your responses to these
      Requests for Production in the event: (a) additional information comes within your
      possession, custody, or control in the future; (b) you learn that additional information


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   exists or is within your possession, custody, or control; or (c) you otherwise learn that
   your previous responses are in any way incomplete or inaccurate.

4. In the event you assert that a privilege and/or the work product doctrine shields the
   disclosure of otherwise responsive information, you must comply with Rule 26(b)(5) and
   LR 34.1(e).

5. These additional instructions are asserted without prejudice to, or waiver of, the Federal
   Rules of Civil Procedure and the Local Rules of this Court.



                           REQUESTS FOR PRODUCTION

1. All Documents and electronically stored information that you identify or otherwise
   reference in response to any of the Interrogatories.

2. All policies or procedures for taking custody of, holding or transferring Guns or
   Accessories from any point during the Relevant Period.

3. All policies or procedures related to transacting business with Individuals and Entities
   outside the Police Department from any point during the Relevant Period, including but
   not limited to bidding or notice requirements, review or audit requirements, performance
   standards and conflict of interest policies.

4. All Documents and electronically stored information that concern your entitlement to
   indemnification, defense or contribution in respect of any judgment that may be entered
   against you in this action, but excluding responsive information that is within the
   attorney-client privilege.

5. All Documents and electronically stored information that relate to Plaintiff Mykel
   Powell, including but not limited to receipts, statements, incident reports, inventory
   records, call log entries, emails, written correspondence, pictures, notes and reports.

6. All Documents and electronically stored information that relate to Defendant Village
   Vault, including but not limited to receipts, statements, incident reports, inventory
   records, call log entries, emails, written correspondence, pictures, notes and reports.

7. All Documents and electronically stored information that relate to Defendant Peter
   Dowd, including but not limited to receipts, statements, incident reports, inventory
   records, call log entries, emails, written correspondence, pictures, notes and reports.

8. All Documents and electronically stored information that relate to any consideration
   (“credit” or otherwise) that Defendants Village Vault and/or Peter Dowd made available
   to the Stoughton Police Department (including to any associated Individual or Entity)
   during the Relevant Period, including but not limited to:




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                  a. receipts indicating the amount of “credit” (or other consideration) that was
                     to be made available;

                  b. statements or other tabulations of the balance of “credit” (or other
                     consideration);

                  c. receipts, statements and invoices for good, services or other things
                     provided in exchange for “credit” (or other consideration); and

                  d. communications and agreements that relate to goods, services or other
                     things provided in exchange for “credit” (or other consideration).

   9. Each and every Inventory Tracking Report that concerns Guns or Accessories transferred
      to Defendants Village Vault and/or Peter Dowd during the Relevant Period, including but
      not limited to each and every Inventory Tracking Report that contains the terms “Village
      Vault” or “Dowd” in any entry, as well as each such record that reflects a change in status
      or storage location.

   10. All other Documents and electronically stored information that otherwise contain any
       details of any Guns or Accessories that the Stoughton Police Department transferred to
       Defendants Village Vault and/or Peter Dowd during the Relevant Period, such as but not
       limited to other inventory records and receipts.


Dated: December 17, 2019


                                        By: /s/ David D. Jensen
                                           David D. Jensen
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on December 17, 2019, I served the within document [Plaintiffs’

Request for Production to Defendant James O’Connor] by emailing a copy thereof to each of the

following:

              Thomas R. Donohue
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                                       /s/ David D. Jensen
                                       David D. Jensen




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